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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 00-1091-CR-HIGHSMITH

UNITED STATES OF AMERICA

}FILED by C.
v. FILED b

{
SAMUEL KNOWLES WAR 2 1 200
LEMUEL GIBSON cLARENCE MADDOX
CLERK U.S. bist cT.
FRANK CARTWRIGHT pS aw

DERRICK BLAKE

PEDRO FERNANDEZ and
DASHIEL PICHS

/

ORDER PLACING DEFENDANT (S) IN FUGITIVE

The above-styled defendants are hereby transferred
to the Clerk's fugitive docket until such time as the
fugitive, SAMUEL KNOWLES, LEMUEL GIBSON, FRANK
CARTWRIGHT, DERRICK BLAKE, PEDRO FERNANDEZ and DASHIEL

PICHS , are apprehended.

Dated: March 21, 2001
BY DIRECTION OF THE COURT

Clarence Maddox

By:
Deputy Clerk

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